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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

NICOLE ESPOSITO                                  :     CIVIL NO. 3:21CV01149(SRU)
     Plaintiff,                                  :
                                                 :
          v.                                     :
                                                 :
BOARD OF REGENTS OF HIGHER                       :
EDUCATION; CONNECTICUT STATE                     :
COLLEGES AND UNIVERSITIES;                       :
ROBERT STEINMETZ, in his individual              :
and official capacities                          ;
ALICE PRITCHARD, in her individual               :
and official capacities; and                     :
ANDREW KRIPP, in his individual                  :
and official capacities.                         :
        Defendants                               :     September 12, 2022

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff, Nicole

Esposito, and Defendants Board of Regents of Higher Education, Connecticut State Colleges and

Universities, Robert Steinmetz, Alice Pritchard and Andrew Kripp in their individual and official

capacities, through counsel, hereby stipulate to a dismissal with prejudice. Each party shall pay

its own costs and fees.


                                                      PLAINTIFF,
                                                      NICOLE ESPOSITO

                                                      By: /s/ Todd Steigman
                                                      Todd Steigman (ct26875)
                                                      Madsen, Prestley & Parenteau, LLC
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                                                      DEFENDANTS,

                                                      WILLIAM TONG
                                                      ATTORNEY GENERAL


                                                      By: /s/ Stephanie A. Wainwright
                                                      Stephanie A. Wainwright
                                                      Assistant Attorney General
                                                      Office of the Attorney General
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                                                      Federal Bar # ct29280




                                        CERTIFICATION


       I hereby certify that on September 12, 2022 a copy of the foregoing was filed

electronically. Notice of this filing was sent by e-mail to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                              /s/ Stephanie A. Wainwright
                                              Stephanie A. Wainwright (# ct29280)
                                              Assistant Attorney General




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